            Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 1 of 10



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                       (Northern Division)

DAVID SYDNEY, et al.,                            *

              Plaintiffs,                        *

v.                                               *     Civil Action No.: 22-cv-01142-GLR

CEDAR REALTY TRUST, INC., et al.                 *

              Defendants.                        *

*       *        *          *       *   *        *     *      *       *       *      *       *
         OPPOSITION TO PLAINTIFFS’ RENEWED MOTION FOR EXPEDITED
                                DISCOVERY

        Wheeler Real Estate Investment Trust (“Wheeler”) offers this memorandum in opposition

to the plaintiffs’ renewed motion for expedited discovery.

        Wheeler has entered into a merger agreement to acquire Cedar Realty Trust, Inc.

(“Cedar”). The plaintiffs, owners of Cedar preferred stock, do not assert any wrongdoing by

Wheeler in their motion for injunctive relief.

        The plaintiffs seek expedited discovery from both Cedar and Wheeler. The request for

expedited discovery should be denied in its entirety because either: (1) the only cognizable

claims asserted against Cedar are legal questions of contract interpretation as to which discovery

is not needed; or (2) plaintiffs will be unable to establish the irreparable harm necessary to

prevail on their requests for preliminary injunctive relief. Alternatively, the Court should deny

each of the five requests for the reasons set forth herein.

                     THE COURT SHOULD DENY ANY EXPEDITED DISCOVERY

        The legal questions before the Court at the preliminary injunction hearing require the

construction of a contract between Cedar and Cedar’s preferred stockholders. Specifically, the



9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 2 of 10



Court has to decide as a matter of law under the objective theory of contracts whether Cedar’s

sale of a portion of its assets to a non-party and its subsequent merger with Wheeler is a

liquidation of Cedar (Amended Complaint Count I) or a transaction that triggers the limited

conversion right of Cedar’s preferred stockholders. (Amended Complaint Count III). The

plaintiffs do not contend there is any need for expedited discovery on those issues. As more

fully set forth in Cedar’s opposition to plaintiffs’ motion for a preliminary injunction (the “Cedar

PI Opp.”), plaintiffs’ request for preliminary injunctive relief on the contract interpretation issue

fails as a matter of law based on the unambiguous language of Cedar’s Articles Supplementary.

(Cedar PI Opp., ECF 30 at 11 – 22).

        In paragraphs 180 - 181 and 192 - 193 of the Amended Complaint, the plaintiffs seek to

go beyond the contract interpretation issue by contending that Cedar acted in bad faith by

structuring the transaction with the “sole intent and motivation” to deprive the Cedar preferred

stockholders of their liquidation or conversion rights.1 As Cedar explained in showing those

allegations fail to state a claim under Maryland law:

        Plaintiffs’ argument is based on the faulty premise that Cedar was obligated to
        structure the transactions in a way that ensures the Preferred Stockholders are able
        to take advantage of the liquidation preference or conversion right. But the Articles
        contain no provision requiring Cedar to structure transactions to trigger either the
        liquidation preference or conversion right, and “the implied covenant of good faith
        and fair dealing does not obligate a party to take affirmative actions the party is
        clearly not required to take under the contract.” Blondell v. Littlepage, 991 A.2d
        80, 90 (Md. 2010).



1
        While a party can plead in the alternative, plaintiffs’ allegations within each of the breach
        of contract counts are so internally inconsistent that they become hard to follow and
        illogical. The plaintiffs assert that the transactions as structured trigger the Cedar
        preferred stockholders’ liquidation or conversion contract rights, and then allege within
        the same counts that Cedar’s sole purpose in entering into the transaction as structured
        was to deprive the plaintiffs of those very same contract rights.


                                                  2
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 3 of 10



(Cedar PI Opp., ECF 30 at 22).2 In Count V of the Amended Complaint, the plaintiffs allege

that Cedar’s directors breached a fiduciary duty to Cedar’s preferred stockholders by structuring

the transaction in a way that their limited conversion rights were not triggered. As Cedar

explained in its opposition, there is no such fiduciary duty under Maryland law, and the rights of

Cedar’s preferred stockholders are limited by the contract. (Cedar PI Opp., ECF 30 at 25 – 28).

        Plaintiffs base their requests for expedited discovery on an assertion that Cedar’s

motivation is an issue pertinent to their claims. Because the Amended Complaint does not state

a claim against Cedar other than one for contract interpretation, Cedar’s motivation is not at issue

on the narrow issues to be addressed at the preliminary injunction hearing. Accordingly, the

request for expedited discovery should be denied.

        The Court should alternatively deny the motion for expedited discovery in its entirety

because the plaintiffs will be unable to establish they would be irreparably harmed without a

preliminary injunction. (Cedar PI Opp., ECF30 at 28 -31). Dimension Data N. Am., Inc. v.

NexStar-1, Inc., 226 F.R.D. 528 (E.D.N.C. 2005) (denying expedited discovery in part because

the plaintiff had not shown it would be irreparably injured by delaying discovery, and there was

no showing that discovery would be unavailable later in the case); L’Occitane, Inc. v. Trans

Source Logistics, Inc. 2009 WL 3746690 (D. Md. 2009) (denying expedited discovery because

plaintiff did not demonstrate how requested discovery would demonstrate the likelihood of

irreparable harm absent a preliminary injunction). See also Davis v. Duncan Energy Partners



2
        The covenant of good faith and fair dealing only precludes a party to a contract from
        taking actions that prohibit the other party from performing its obligations under the
        contract, a situation not present here. The covenant of good faith and fair dealing does
        not in any way abrogate the objective theory of contract interpretation or allow a court to
        speculate as to a party’s motivation when interpreting a contract. See Cedar PI Opp., ECF
        30 at 23.


                                                 3
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 4 of 10



L.P., 801 F.Supp.2d 589, 596 – 598 (S.D.Tex. 2011) (in the context of a merger transaction, a

court may deny a request for expedited discovery where the plaintiffs can pursue money

damages after the merger and therefore will be unable to establish irreparable harm.)

         THE COURT SHOULD DENY EXPEDITED DISCOVERY OF EACH
   DOCUMENT (OR CATEGORY OF DOCUMENTS) IDENTIFIED IN PLAINTIFFS’
                 MOTION FOR EXPEDITED DISCOVERY

        The plaintiffs’ request for expedited discovery should be denied even if the individual

requests are considered separately. The plaintiffs perseverate in their attempt (already once

rebuffed by this Court) to obtain expedited discovery without raising any new issues or

explaining how the need for discovery arose from the oppositions filed by the defendants to the

motion for preliminary injunctive relief. To be sure, a court can order expedited discovery to aid

in the resolution of a preliminary injunction motion if good cause is shown after taking into

account the totality of the circumstances. However, even the cases cited by plaintiffs in their

memorandum in support of their request for expedited discovery support defendants’ position

that expedited discovery is the exception and not the rule. Rather, a plaintiff must show good

cause, have narrowly drawn their discovery requests, and show how each request will yield

information needed to prove the issues to be addressed at the hearing on the request for

preliminary injunctive relief. Dimension Data N. Am., Inc. v. NexStar-1, Inc., 226 F.R.D. at 532

(adopting the good cause test and denying relief because, inter alia, the requests were not

tailored to meet issues relevant to the preliminary injunction, the plaintiff had not shown it would

be irreparably injured by delaying discovery, and there was no showing that discovery would be

unavailable later in the case); L’Occitane, Inc. v. Trans Source Logistics, Inc., 2009 WL

3746690 at * 2 (denying relief because plaintiff did not demonstrate how requested discovery

would demonstrate the likelihood of irreparable harm absent a preliminary injunction); Palermo

v. Underground Solutions, Inc., 2012 WL 2106228 (S.D. Cal. June 11, 2012) (denying expedited

                                                 4
9492309.7 57161/148694 06/02/2022
           Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 5 of 10



discovery because the plaintiff had not established a need for it and the requests were overly

broad).

          Wheeler addresses below each of the five documents (or categories of documents) sought

by the plaintiffs on an expedited basis. (P Memo, ECF 32-1 at 1).3

The Company Disclosure Schedule

          The plaintiffs seek the “Company Disclosure Schedule” as evidence of the equity in and

cash flow from the properties to be owned by Cedar at the time of the merger. (P Memo, ECF

32-1 at 8 - 10).    The plaintiffs state that the disclosure information is an Exhibit to the Merger

Agreement. While the plaintiffs assert it was odd that the information was not publicly disclosed

as part of the proxy, they do not cite to any requirement that such information must be disclosed,

there is no such requirement, 17 C.F.R. § 229.601(a)(5), and there are good business reasons for

not doing so.4

          The Company Disclosure Schedule contains information about the properties Cedar will

own when its common stock is acquired by Wheeler. A request for a document containing

private and detailed information about each tenant in 19 shopping centers does not address the

contract issues before the Court and will not enable the plaintiffs to show a likelihood of success

on their contract claims under Cedar’s Articles Supplementary. It is also hard to imagine what

use could be made of numerical data about approximately 260 tenants in a 50 page rent roll on an

expedited basis.




3
          A reference to “P Memo, ECF 32-1 at ___” is to the Memorandum of Law in Support of
          Plaintiffs’ Renewed Motion for Expedited Discovery at ECF 32-1.
4
          The plaintiffs have not asserted any inadequate disclosure claims in their Amended
          Complaint.


                                                   5
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 6 of 10



        In addition, the tenant specific information contained in the rent roll is sensitive,

competitive, financial information that should not be disclosed absent a protective order. The

dissemination of that information could assist others to try to convince tenants to relocate and

could be used for other purposes by competitors.

        Wheeler understands that Cedar is willing to disclose the Company Disclosure Schedule,

not based on Cedar’s need to establish a likelihood of prevailing on the issues of law to be

addressed at the preliminary injunction hearing, but to give plaintiffs access to the exhibits to the

merger agreement. Wheeler disagrees, and asks the Court not to open the door to expedited

discovery where the plaintiffs have not satisfied their burden. Plaintiffs have not shown they

need the detailed information to show a likelihood of success on the merits of the claims at issue

at the preliminary injunction hearing or explained how they would use the detailed information

to show any alleged harm. The Court should not be swayed by the plaintiffs’ suggestion that the

disclosure could even establish Cedar’s motivation, even if that issue was somehow pertinent

(which it is not).

The Due Diligence Materials

        The plaintiffs ask for due diligence materials provided to bidders in the online data room.

The plaintiffs assert they are looking for “discrete” documents. That clearly is not the case with

respect to due diligence materials provided by Cedar and Wheeler in a data room (which counsel

for Cedar has informed us contained approximately 12,000 separate documents). It is hard to

imagine a broader request.

        Even assuming the data room is still accessible, it included all or virtually every

document provided by each of the parties to the transaction. An objection would be provided to

the overbreadth of a request for every document exchanged by the parties in their due diligence

even in the context of non-expedited discovery. This is a fishing expedition of the worst kind,

                                                  6
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 7 of 10



and the plaintiffs come nowhere close to explaining how such a vast compendium of documents

would bear on the issues that could be addressed at the hearing.

        The only justification proffered by plaintiffs for access to the data room is that another

unnamed entity offered Cedar $240 million for the remaining properties Cedar will continue to

own at the time of the merger with Wheeler, rather than the $291.3 million value placed on those

properties in the merger transaction. (P Memo, ECF 31-1 at 10 -11). The plaintiffs surmise that

some unidentified documents in the data room must have been used by that non-party in making

its unsuccessful bid at some undisclosed time. Even if that issue had some relevance to the

contract issues before the Court (it does not) and even if Cedar’s motivation had any relevance to

the preliminary injunction issues (it does not), a lowball bid from some unknown non-party

hardly justifies expedited discovery allowing the plaintiffs free rein to rummage through

thousands of documents in the data room.

Materials Sufficient To Ascertain How Defendants Are Treating The Proposed Acquisitions for
Tax Purposes

        The plaintiffs claim they “have reason to believe” that the defendants may be treating the

transaction as a liquidation for tax purposes. (P Memo, ECF 32-1 at 11). The plaintiffs do not

explain the basis for that belief. In any event, Wheeler is acquiring Cedar. Wheeler will operate

the post-merger Cedar as an ongoing commercial real estate business. That alone shows there

will be no liquidation.

        The plaintiffs have not (and cannot) explain how the tax treatment (if any) by Wheeler

that would result from Wheeler’s acquisition of Cedar’s common stock would bear on whether

the transaction is being treated as a liquidation by Cedar. Further, Cedar’s public filings address

how Cedar intends to treat the transaction for tax purposes – not as a liquidation. Finally,




                                                  7
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 8 of 10



Wheeler is not aware of any document that it could produce even if the Court were to find that

such a request proper for expedited discovery.

The Commitment Letter from Wheeler’s Bank

        The plaintiffs seek the commitment letter from Key Banc to loan Wheeler money with

which to acquire Cedar’s common stock. The plaintiffs assert that knowing the repayment terms

of the loan “are crucial to determining whether the cash flow” from the properties which will be

owned by Cedar at the time of the merger “is, in fact, adequate to pay dividends to [Cedar]

Preferred Stockholders.” (P Memo, ECF 32-1 at 10). It is unclear how that issue goes to any of

the preliminary injunction issues even if Cedar’s motivation was somehow pertinent (which it is

not).

        This was a business transaction for Wheeler. It is not plausible that Wheeler would enter

into an acquisition where the cash flow projections were insufficient to cover debt service and

obligations to the Cedar Preferred Stockholders, and still generate a profit.

        In any event, counsel for Wheeler has reviewed the commitment letter and it does not

contain an expected or required cash flow. The loan commitment, however, requires that the

fixed charge coverage ratio be greater than or equal to 1.2 including “all contractual dividend

payments” on the Cedar Preferred Stock. In other words, the bank financing the transaction

requires that the cash flow from the properties to be owned by Cedar after the merger generate at

least a 20% cushion over Cedar’s obligations on the debt (which is guaranteed by Wheeler) and

dividend obligations to Cedar’s Preferred Stockholders. The bank will not make the loan absent

its determination that the cash flow will be at least 20% more than the dividend obligations to the

Cedar preferred stockholders and the debt service combined.




                                                 8
9492309.7 57161/148694 06/02/2022
          Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 9 of 10



        If the Court nonetheless was to Order Wheeler to produce the commitment letter, it

would have to be subject to a restrictive protective order approved by Wheeler and potentially

Key Banc.

The Board Minutes

        The plaintiffs seek “minutes of all board and committee meetings in which the

transaction[s] which form the subject matter of this litigation were discussed or considered.” (P

Memo at 1). The plaintiffs assert the Board Minutes should be produced because they may show

the alleged bad faith motivation to circumvent the contractual requirements in Cedar’s Articles

Supplementary as they apply to Cedar’s Preferred Stock or they may bear upon the adequacy of

the cash flow from or value of the properties that Cedar will continue to own at the time of the

merger. (P Memo, ECF 32-1 at 7). As set forth above and in defendants’ respective oppositions

to the request for preliminary injunctive relief, Cedar’s motivation is not relevant to the

contractual interpretation issues before the Court at the preliminary injunction hearing.

        Moreover, the request is overbroad even if the motivation of the parties with respect to

the preferred stockholders could be an issue to be addressed at the preliminary injunction

hearing. If the request is sufficiently narrowed to excerpts from board minutes addressing the

avoidance of or inability to meet obligations to Cedar’s preferred stockholders, Wheeler does not

have anything to produce.

                                         CONCLUSION

        For the foregoing reasons, Wheeler respectfully requests that the Court deny the plaintiffs

expedited discovery in advance of the hearing to consider preliminary injunctive relief.




                                                  9
9492309.7 57161/148694 06/02/2022
         Case 8:22-cv-01142-GLR Document 35 Filed 06/02/22 Page 10 of 10



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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 2nd day of June, 2022, a copy of the foregoing was

electronically filed and served through the Court’s CM/ECF system.



                                            /s/ Jerrold A. Thrope
                                            Jerrold A. Thrope




                                              10
9492309.7 57161/148694 06/02/2022
